                  Case 22-12884-LMI      Doc 45       Filed 06/29/23   Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In Re:

GABRIEL ALVAREZ                               CASE NO. 22-12884-LMI
                                              CHAPTER 13

Debtor.
_____________________________/

                        RESPONSE TO OBJECTION TO CLAIM NO. 9

         Creditor, Peritus Portfolio Services II, LLC, servicer for Yamaha Motor Finance

Corporation USA ("Creditor"), by its undersigned attorneys, for its Response to the Chapter 13

Trustee’s Objection to Claim No. 9, would state and show unto the Court that:

         1.      Debtor filed the original petition under Chapter 13 of the Bankruptcy Code on

April 14, 2022.

         2.      Creditor holds an unsecured claim in the amount of $9,087.45 with respect to

certain charges made by the Debtor on his charge account with Creditor, which is reflected in

Creditor’s Proof of Claim No. 9 filed on July 6, 2022.

         3.      The Chapter 13 Trustee has filed an Objection to Creditor’s Proof of Claim 9 as

being untimely filed.

         4.      Upon receiving the Trustee’s Objection, Creditor reviewed its records and

discovered that the claims deadline was mis-calendared, and the Proof of Claim was untimely

filed as a result.

         5.      Contemporaneously with this Response, Creditor is filing a Motion to Allow the

Late-Filed Proof of Claim.




                                                  1
                Case 22-12884-LMI        Doc 45       Filed 06/29/23    Page 2 of 2




         6.    Accordingly, Creditor respectfully requests that the Proof of Claim be allowed as

filed.

         WHEREFORE, Creditor prays that the Objection to Claim No. 9 be denied and that the

Court grant such other and further relief as shall deem to be proper.


                                              /s/ Bertis A. Echols, III
                                              Bertis A. Echols, III
                                              Florida Bar Number 0063387
                                              Attorneys for the Creditor Peritus Portfolio Services
                                              II, LLC
                                              1715 Aaron Brenner Drive, Suite 800
                                              Memphis, TN 38120
                                              (901) 525-6781
                                              (901) 248-6854 (fax)
                                              bechols@evanspetree.com



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY THAT a true and correct copy of the foregoing Response to

Objection to Claim No. 9 was furnished by electronic or First Class U.S. Mail postage prepaid to

Debtor, Gabriel Alvarez, 581 W 79 St, Miami, FL 33014; Attorney for Debtor, Patrick L

Cordero, Esq, 7333 Coral Way, Miami, FL 33155; Trustee, Nancy K. Neidich, POB 279806,

Miramar, FL 33027; Office of the US Trustee, 51 S.W. 1st Avenue, Suite 1204, Miami, FL

33130, on this 29th day of June, 2023.

                                              /s/ Bertis A. Echols, III
                                              Bertis A. Echols, III, Esquire
                                              Florida Bar Number 0063387




                                                  2
